          Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 1 of 18



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 7

 8                          UNITED STATES DISTRICT COURT
 9    NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
10

11   CHARLES ANTHONY SPECK,                      Case No. 3:20-CV-05845-JD
     Individually and as Successor in Interest
12                                               Transferred from Alameda County Superior Court
     to Decedent JOHN C. SPECK, JULIE
13   CRYSTAL ANDERSON and TAMMY                  Case No. RG20062294
     LOUISE ANDERSON,                            DEFENDANT ERICSSON INC.’S REPLY
14
                                                 BRIEF IN SUPPORT OF MOTION FOR
15                       Plaintiffs,             SUMMARY JUDGMENT OR, IN THE
16                                               ALTERNATIVE, PARTIAL SUMMARY
           vs.
                                                 JUDGMENT (DKT. NO. 346)
17
     3M COMPANY a/k/a MINNESOTA
18   MINING & MANUFACTURING                      [Concurrently filed with Declaration of Ana T.
     COMPANY, et al.,                            Reeg]
19

20                       Defendants.             Date:                 October 6, 2022
                                                 Time:                 10:00 a.m.
21                                               Courtroom:            11
22

23                                               District Judge:       Hon. James Donato
24

25         Defendant Ericsson Inc. submits this Reply Brief in support of its Motion for
26   Summary Judgment or, in the Alternative, Partial Summary Judgment.
27   ///
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     DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
             OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT (DKT. NO. 346)
                                 CASE NO. 3:20-CV-05845-JD
           Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 2 of 18



 1                                                 TABLE OF CONTENTS
 2

 3   I. STATEMENT OF ISSUES TO BE DECIDED .............................................................1
 4   II. STATEMENT OF RELEVANT FACTS.........................................................................1
 5   III. REPLY ARGUMENT AND PERTINENT AUTHORITIES...............................1
 6         A. ERICSSON CARRIED ITS INITIAL BURDEN OF PRODUCTION AND
 7             PERSUASION ON ITS MOTION .........................................................................................2
 8         B. SPECK FAILED TO DESIGNATE SPECIFIC FACTS OR PRESENT
 9             SIGNIFICANTLY PROBATIVE EVIDENCE SHOWING THAT THERE IS A
10             GENUINE ISSUE FOR TRIAL .............................................................................................3
11              1. Decedent’s Deposition Testimony Confirms No Threshold Exposure ............3
12              2. Decedent’s Discovery Responses Confirm No Threshold Exposure ................4
13              3. The Snider Declaration is Admissible and Confirms No Threshold
14                  Exposure ......................................................................................................................5
15              4. Charles Ay’s Report Lacks Foundation and is Immaterial ...................................7
16         C. THERE IS NO EVIDENCE TO SUPPORT SPECK’S FRAUD OR PUNITIVE
17             DAMAGES CLAIM...............................................................................................................8
18         D. ERICSSON’S EVIDENTIARY OBJECTIONS ........................................................................9
19   IV.     CONCLUSION .................................................................................................................13
20

21

22

23

24

25

26

27

28
                                               i
      DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
              OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT (DKT. NO. 346)
                                  CASE NO. 3:20-CV-05845-JD
            Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 3 of 18



 1                                            TABLE OF AUTHORITIES
 2   Cases
 3   Agfa-Gevaert, A.G. v. A.B. Dick Co., 879 F.2d 1518, 1523 (7th Cir. 1989) .......................... 7
 4   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249-250 (1986) ...................................... 3, 5, 8
 5   Barcamerica Int’l USA Trust v. Tyfield Imps., Inc., 289 F.3d 589, 593, fn. 4 (9th Cir. 2002) ..... 3
 6   Brazos River Authority v. GE Ionics, Inc., 469 F.3d 416, 432-434 (5th Cir. 2006) ................... 6
 7   Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986) ........................................................ 2, 3, 8
 8   Cooper v. United Air Lines, Inc., 82 F.Supp.3d 1084, 1096 (N.D. Cal. 2015)......................... 7
 9   Dropbox, Inc. v. Thru Inc., 2016 U.S. Dist. LEXIS 169625, 2016 WL 7116717, at *19 (N.D.
10      Cal. Dec. 16, 2016) ....................................................................................................... 7
11   Ecclesiastes 9:10-11-12, Inc. v. LMC Holding Co., 497 F.3d 1135, 1146 (10th Cir. 2007) ........ 6
12   Harris v. Vector Mktg. Corp., 656 F.Supp.2d 1128, 1132 (N.D. Cal. 2009) .......................... 7
13   In re First Alliance Mortg. Co., 471 F.3d 977, 998-999 (9th Cir. 2006) .................................. 8
14   In re Related Asbestos Cases, 543 F. Supp. 1142, 1149 (N.D. Cal. 1982) ............................. 10
15   Macklin v. Butler, 553 F.2d 525, 528 (7th Cir. 1977) ................................................. 1, 8, 12
16   Nissan Fire & Marine Ins. Co., Ltd. v. Fritz Cos., Inc., 210 F.3d 1099, 1102 (9th Cir. 2000) .. 2
17   QBE Ins. Corp. v. Jorda Enterprises, Inc., 277 F.R.D. 676, 689 (S.D.Fla. 2012) ...................... 6
18   Reilly v. NatWest Mkt. Group Inc., 181 F.3d 253, 268 (2d Cir. 1999).................................... 6
19   Robinson v. Watts Detective Agency, Inc., 685 F.2d 729, 739 (1st Cir. 1982) ............................ 6
20   Rutkowski v. Occidental Chemical Corp., 1989 U.S. Dist. LEXIS 1732, 1989 WL 32030, at *2-
21      4 (N.D. Ill. Feb. 16, 1989) ........................................................................................... 10
22   Rules
23   30(b)(6) of the Federal Rules of Civil Procedure ...................................................... 5, 6, 7
24   Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) ................................ 8, 9, 12
25   FED R. EVID. 701 ....................................................................................................... 9, 12
26   Fed. R. Civ. P. 10(c) ..................................................................................................... 1, 8
27   FED. R. CIV. P. 26(e)(1)(A) ............................................................................................... 5
28
                                               ii
      DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
              OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT (DKT. NO. 346)
                                  CASE NO. 3:20-CV-05845-JD
            Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 4 of 18



 1   FED. R. CIV. P. 56(c)(1) ................................................................................................ 2, 4
 2   Fed. R. Civ. P. 56(c)(1)(A) ................................................................................................ 4
 3   FED. R. CIV. P. 56(c)(4) .............................................................................................. 9, 12
 4   FED. R. EVID. 106 .......................................................................................................... 11
 5   FED. R. EVID. 401 .......................................................................................... 9, 10, 11, 12
 6   Local Rule 7-4(a) .............................................................................................................. 1
 7   Rule 10(c) of the Federal Rules of Civil Procedure ..................................................... 1, 12
 8   Rule 602 of the Federal Rules of Evidence ............................................................. 6, 9, 12
 9   Rule 702 of the Federal Rules of Evidence ............................................................. 8, 9, 12
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      DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
              OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT (DKT. NO. 346)
                                  CASE NO. 3:20-CV-05845-JD
            Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 5 of 18



 1   I.      STATEMENT OF ISSUES TO BE DECIDED
 2                 Whether Speck failed to make a sufficient showing establishing the
 3   existence of an essential element to his case on which he bears the burden of proof at
 4   trial – i.e., Decedent’s “threshold exposure” to an asbestos-containing Anaconda product
 5   (Speck conceded as to Continental).1
 6                 Whether the evidence presented in Speck’s Opposition is insufficient to
 7   allow a rational fact finder to find oppression, fraud, or malice on the part of Ericsson by
 8   clear and convincing evidence.
 9   II.     STATEMENT OF RELEVANT FACTS
10           Ericsson incorporates by reference the “Statement of Facts,” which must be
11   contained in Ericsson’s reply brief under Local Rule 7-4(a), from Ericsson’s principal
12   brief (Dkt. No. 346) pursuant to Rule 10(c) of the Federal Rules of Civil Procedure.
13   Macklin v. Butler, 553 F.2d 525, 528 (7th Cir. 1977).
14   III.    REPLY ARGUMENT AND PERTINENT AUTHORITIES
15           As a preliminary matter, Speck objects to Ericsson’s motion in its entirety as
16   violating this Court’s June 3, 2021, Order. (Opp’n at p. 1:13-20.) However, the language
17   in the Order quoted by Speck is incomplete. The Order states: “When appropriate,
18   defendants should file a joint summary judgment motion accompanied by a single
19   brief.”2 Nothing in the order prohibits defendants from filing individual motions when
20   appropriate, which it is here, because these facts are unique and apply only to Ericsson.
21   As such, Speck’s objection is without merit and should be disregarded.
22   ///
23   ///
24

25   1
       By failing to respond to Ericsson’s argument that there is no evidence of Decedent’s threshold
     exposure to an asbestos-containing Continental wire/cable, Speck concedes. Jenkins v. County of Riverside,
26   398 F.3d 1093, n.4 (9th Cir. 2005); Mariscal v. Graco, Inc., 52 F.Supp.3d 973, 984 (N.D.Cal. 2014).
     2
       See Exhibit 7 to the Declaration of Sarah N. Bendon in support of Plaintiffs’ Opposition to Ericsson
27   Inc.’s Motion for Summary Judgment or, in the Alternative, Partial Summary Judgment (“Bendon
28   Decl.”) (Dkt. No. 351-1). (Emphasis added.)
                                                            1
       DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
                    OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT (DKT. NO. 346)
                                            CASE NO. 3:20-CV-05845-JD
          Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 6 of 18



 1          A.      ERICSSON CARRIED ITS INITIAL BURDEN OF PRODUCTION AND
 2                  PERSUASION ON ITS MOTION.
 3          Ericsson met its initial burden by showing that there is an absence of evidence to
 4   support an essential element of Speck’s claim – i.e., Decedent’s “threshold exposure” to
 5   an asbestos-containing Anaconda product – to carry his ultimate burden of persuasion at
 6   trial. FED. R. CIV. P. 56(c)(1); Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986); Nissan Fire
 7   & Marine Ins. Co., Ltd. v. Fritz Cos., Inc., 210 F.3d 1099, 1102 (9th Cir. 2000).
 8          To that end, Ericsson’s showing consisted of the following:
 9                 Decedent was an apprentice electrician from 1960 to 1964.3
10                 Decedent recalled working with Anaconda, General Cable, and Rockbestos
11                  wire/cable.4
12                 The first year Decedent recalled working with Anaconda wire was “early on
13                  in my apprenticeship” – i.e., at the earliest, 1960.5
14                 Decedent only recalled working with Anaconda wire on the USS Andrew
15                  Jackson, a Navy submarine.6
16                 Anaconda did not manufacture Navy submarine cable that contained
17                  asbestos.7
18                 Decedent identified the following facts to support his contention that he
19                  was exposed to an asbestos-containing Ericsson product: (1) he worked
20                  with Anaconda’s asbestos-containing wire and cable while employed at
21                  Mare Island Naval Shipyard;8 (2) this exposure began in 1960;9 and (3)
22
     3
       Deposition of John C. Speck (“Speck Deposition”), Volume II, at pp. 173:4-6, 258:15-17, attached as
23
     Exhibit B to the Declaration of Ana T. Reeg in support of Ericsson Inc.’s Motion for Summary
24   Judgment or, in the Alternative, Partial Summary Judgment (“Reeg Decl.”) (Dkt. No. 346-2).
     4
       Speck Deposition, Vol. I, at p. 74:15-24.
     5
25     Speck Deposition, Vol. IV, at p. 479:15-18.
     6
       Speck Deposition, Vol. III, at p. 354:22-355:10; Speck Deposition, Vol. IV, at p. 479:19-480:8.
26   7
       Declaration of Randy Snider (“Snider Declaration”), at ¶ 7, attached as Exhibit C to the Reeg Decl.
     8
       John C. Speck’s Responses to Ericsson Inc.’s Interrogatories (Set One), No. 1, at pp. 2:8-9, 3:5-7,
27   attached as Exhibit A to the Reeg Decl.
     9
28     Id. at p. 3:4-5.
                                                          2
       DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
                     OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT (DKT. NO. 346)
                                           CASE NO. 3:20-CV-05845-JD
              Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 7 of 18



 1                       Anaconda asbestos-containing Navy cable was manufactured by Anaconda
 2                       until 1946.10
 3              As set forth above, there is no evidence of Decedent’s “threshold exposure” to an
 4   asbestos-containing Anaconda wire or cable nor a genuine issue of material fact.
 5              B.       SPECK FAILED TO DESIGNATE SPECIFIC FACTS OR PRESENT
 6                       SIGNIFICANTLY PROBATIVE EVIDENCE SHOWING THAT THERE IS A
 7                       GENUINE ISSUE FOR TRIAL.
 8              Speck’s Opposition failed to state facts or present “significantly probative
 9   evidence” to permit a reasonable trier of fact to find in favor of Speck. Anderson v. Liberty
10   Lobby, Inc., 477 U.S. 242, 249-250 (1986). Importantly, a party cannot create a “genuine”
11   issue of “material” fact simply by making assertions in his legal memoranda. Barcamerica
12   Int’l USA Trust v. Tyfield Imps., Inc., 289 F.3d 589, 593, fn. 4 (9th Cir. 2002) (counsel’s
13   arguments and statements not evidence and do not create material fact issues capable of
14   defeating otherwise valid motion.).
15              Put simply, nothing in Speck’s Opposition changes the state of the evidence – Mr.
16   Speck did not and could not have encountered asbestos-containing wire manufactured by
17   Anaconda. As explained below, Speck failed to come forward with any facts or evidence
18   on the critical issue of Decedent’s threshold exposure to an asbestos-containing
19   Anaconda product. This failure of proof concerning the essential element of Speck’s
20   case necessarily renders all other facts presented by Speck in his Opposition immaterial.
21   Celotex Corp. v. Catrett, 477 U.S. at 323.
22                       1.     Decedent’s Deposition Testimony Confirms No Threshold
23   Exposure.
24              Ericsson disputes that it misrepresents Decedent’s deposition testimony.
25   However, for the sake of argument, even if Decedent’s testimony is construed as
26   proffered by Speck, it still does not raise a genuine issue of material fact. Speck claims
27
     10
28        Id. at p. 4:23-24.
                                               3
      DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
              OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT (DKT. NO. 346)
                                  CASE NO. 3:20-CV-05845-JD
          Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 8 of 18



 1   Decedent’s use of Anaconda wires was not limited to the USS Andrew Jackson between
 2   1960 and 1964. (Opp’n at p. 18:15-19:11.) Instead, it was at various locations during
 3   Decedent’s career. (Id. at p. 19:11-19.) Such an interpretation adds nothing because
 4   Decedent worked at Mare Island Naval Shipyard from 1960 to 198911 – well after
 5   Anaconda stopped making asbestos-containing Navy cable in 1946.12 Thus, at best,
 6   Speck only established that Decedent used a non-asbestos-containing Anaconda wire for
 7   a longer period of time, which does not raise a genuine issue of material fact.
 8                  2.      Decedent’s Discovery Responses Confirm No Threshold Exposure.
 9          Speck argues that Ericsson “impermissibly tries to paint decedent’s responses to
10   discovery requests as an opposing party’s statement regardless as to what information is
11   being disclosed.” (Opp’n at p. 17:14-16.) However, Ericsson is following the procedures
12   outlined in Rule 56(c) – i.e., supporting Ericsson’s assertion that a fact cannot be
13   genuinely disputed by “citing to particular parts of materials in the record,
14   including…interrogatory answers,….” Fed. R. Civ. P. 56(c)(1)(A).
15          To that end, Ericsson propounded Interrogatory No. 1 asking Decedent to state
16   all facts that support his contention that he was exposed to any asbestos-containing
17   product supplied by Ericsson.13 As to Ericsson, Decedent contended he was exposed to
18   Anaconda’s asbestos-containing wire beginning in 1960.14 As to facts supporting
19   Decedent’s contention that he was exposed to an asbestos-containing Anaconda wire, he
20   stated that “Anaconda asbestos-containing navy cable was manufactured by Anaconda
21   Wire & Cable Company until 1946.”15
22          Speck now argues that this portion of Decedent’s response cannot be used against
23   Speck. (Opp’n at 18:11-13.) This argument is without merit. Ericsson cites to
24
     11
25      John C. Speck’s Responses to Ericsson Inc.’s Interrogatories (Set One), No. 1, at pp. 2:8-9, attached as
     Exhibit A to the Reeg Decl.
26   12
        Id. at p. 4:23-24.
     13
        Id. at p. 1:22-23.
27   14
        Id. at p. 3:4-5.
     15
28      Id. at p. 4:23-24.
                                                         4
       DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
                     OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT (DKT. NO. 346)
                                          CASE NO. 3:20-CV-05845-JD
          Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 9 of 18



 1   Decedent’s discovery responses to show that he lacked evidence of exposure to an
 2   asbestos-containing Anaconda wire. If, however, Speck has evidence of a threshold
 3   exposure, then he had a duty to timely supplement or correct earlier answers upon
 4   learning they were “in some material respect…incomplete or incorrect” when made or
 5   are no longer true. FED. R. CIV. P. 26(e)(1)(A). Tellingly, no supplemental responses
 6   were ever served by Speck nor were any specific facts or probative evidence presented in
 7   Speck’s Opposition showing that Anaconda still manufactured asbestos-containing Navy
 8   cable in the 1960s, 1970s, and 1980s. Based on Decedent’s discovery responses and
 9   Speck’s failure to supplement, this Court should infer that Speck lacks any significantly
10   probative evidence to establish Decedent’s threshold exposure to an asbestos-containing
11   Anaconda wire. Anderson v. Liberty Lobby, Inc., 477 U.S. at 249.
12                  3.      The Snider Declaration is Admissible and Confirms No Threshold
13   Exposure.
14          Contrary to Speck’s assertions, the Declaration of Randy Snider (“Snider
15   Declaration”) is admissible. Speck first argues the Snider Declaration is inadmissible
16   because Mr. Snider was not disclosed as an expert witness or an individual likely to have
17   discoverable information. (Opp’n at p. 14:6-9.) Missing from Speck’s Opposition is
18   Ericsson’s Rule 26(a)(1) disclosures, which discloses Mr. Snider as its corporate witness.16
19   Thus, Ericsson is not prohibited from using Mr. Snider as a witness for this Motion (or
20   otherwise) for failure to disclose.
21          Speck then argues that Mr. Snider lacks foundation for his claims. (Opp’n at p.
22   14:19-20.) To the extent Speck was unaware that Mr. Snider is Ericsson’s Rule 30(b)(6)
23   witness, Speck’s argument that Mr. Snider provides improper lay witness opinions in his
24   declaration is without merit. On the other hand, to the extent Speck argues that Mr.
25   Snider, despite being Ericsson’s Rule 30(b)(6) witness, cannot speak on behalf of
26   Ericsson because he lacks first-hand personal knowledge, Speck cites to no case law in
27
     16
28    Ericsson Inc.’s Rule 26 Initial Disclosures (Fed. R. Civ. P. 26(A)(1)), at p. 15:14-25 (Dkt. No. 108).
                                                         5
      DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
                OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT (DKT. NO. 346)
                                          CASE NO. 3:20-CV-05845-JD
         Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 10 of 18



 1   support of his exceedingly strict view on the personal knowledge requirement.
 2          This issue was addressed by federal courts, which square Rule 30(b)(6) of the
 3   Federal Rules of Civil Procedure with the personal knowledge requirement of Rule 602
 4   of the Federal Rules of Evidence, explaining that a Rule 30(b)(6) witness represents the
 5   corporate entity’s knowledge, not the individual deponent’s knowledge. Brazos River
 6   Authority v. GE Ionics, Inc., 469 F.3d 416, 432-434 (5th Cir. 2006).
 7          Federal courts recognize that “[o]bviously it is not literally possible to take the
 8   deposition of a corporation” and that “the information sought must be obtained from
 9   natural persons who can speak for the corporation.” Id. at 433. “Information” extends
10   not only to facts, but the subjective beliefs and opinions of the corporation. Id. Indeed,
11   corporations have an “affirmative duty” to produce a designee that can give “complete,
12   knowledgeable, and binding answers” on the corporation’s behalf. Ecclesiastes 9:10-11-12,
13   Inc. v. LMC Holding Co., 497 F.3d 1135, 1146 (10th Cir. 2007); Reilly v. NatWest Mkt. Group
14   Inc., 181 F.3d 253, 268 (2d Cir. 1999).
15          The fact that a corporation no longer employs a person with knowledge on a
16   specific topic does not relieve the corporation of the duty to prepare and produce an
17   appropriate designee. QBE Ins. Corp. v. Jorda Enterprises, Inc., 277 F.R.D. 676, 689
18   (S.D.Fla. 2012). The corporation must prepare its designee by having him review
19   available materials, including fact witness deposition testimony, documents produced in
20   discovery, materials in former employees’ files and, if necessary, interviews of others with
21   knowledge. Id. In other words, a corporation is expected to “create” an appropriate
22   witness from information reasonably available to it. Id. In such a case, knowledge
23   acquired may still be considered personal knowledge. Robinson v. Watts Detective Agency,
24   Inc., 685 F.2d 729, 739 (1st Cir. 1982).
25          The Snider Declaration demonstrates that Ericsson fulfilled its “affirmative duty”
26   to create and produce such a designee: Mr. Snider spoke to Ericsson’s former corporate
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     DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
             OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT (DKT. NO. 346)
                                 CASE NO. 3:20-CV-05845-JD
          Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 11 of 18



 1   representative, Erich Kothe, prior to his death,17 read Mr. Kothe’s trial and deposition
 2   testimony in other matters,18 and reviewed relevant product literature.19 Notably, counsel
 3   for Speck deposed Mr. Kothe in a prior matter, and was made aware of the fact that
 4   asbestos-containing Anaconda Navy wires were predominantly manufactured from 1941
 5   to 1946 during World War II.20 By the time Mr. Kothe got to Anaconda’s plant in 1951,
 6   there were no asbestos-containing Navy cables being manufactured at that time.21
 7            Although Mr. Snider may not have first-hand personal knowledge of all the events
 8   to which he attests to, he can and should be considered to have acquired personal
 9   knowledge by reviewing relevant documents and discussing the issues with personnel of
10   Ericsson, such as Mr. Kothe. Agfa-Gevaert, A.G. v. A.B. Dick Co., 879 F.2d 1518, 1523
11   (7th Cir. 1989). As such, the Snider Declaration is admissible and should be considered
12   by this Court in support of Ericsson’s Motion. Harris v. Vector Mktg. Corp., 656
13   F.Supp.2d 1128, 1132 (N.D. Cal. 2009) (Rule 30(b)(6) witness testimony may be
14   presented on motion for summary judgment); Dropbox, Inc. v. Thru Inc., 2016 U.S. Dist.
15   LEXIS 169625, 2016 WL 7116717, at *19 (N.D. Cal. Dec. 16, 2016); Cooper v. United Air
16   Lines, Inc., 82 F.Supp.3d 1084, 1096 (N.D. Cal. 2015).
17            Accordingly, the Snider Declaration further establishes that Decedent was not
18   exposed to an asbestos-containing Anaconda wire because Anaconda did not
19   manufacture Navy submarine cable that contained asbestos during the relevant time
20   frame.
21                  4.     Charles Ay’s Report Lacks Foundation and is Immaterial.
22            Without any specific facts or significantly probative evidence establishing the
23
     17
24      Declaration of Randy Snider, at ¶ 4, attached as Exhibit C to the Reeg Decl. (Dkt. No. 346-2).
     18
        Id.
     19
25      Id. at 7.
     20
        Telephonic Oral Deposition of Erich Kothe in David Lee Smith v. ABB, Inc., in the Superior Court of
26   California, in the County of Los Angeles, Case No. BC453781, at p. 45:10-18, attached as Exhibit D to
     the Declaration of Ana T. Reeg in support of Ericsson Inc.’s Reply Brief in support of Motion for
27   Summary Judgment or, in the Alternative, Partial Summary Judgment.
     21
28      Id. at p. 45:21-25.
                                                          7
       DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
                    OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT (DKT. NO. 346)
                                           CASE NO. 3:20-CV-05845-JD
         Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 12 of 18



 1   essential element of Decedent’s threshold exposure to an asbestos-containing Anaconda
 2   wire, Mr. Ay’s report is immaterial. Celotex Corp. v. Catrett, 477 U.S. at 323 (“A complete
 3   failure of proof concerning an essential element of the nonmoving party’s case necessarily
 4   renders all other facts immaterial.”).
 5          Even if this Court determines that Mr. Ay’s report is material, then it should be
 6   stricken because it fails to meet the requirements of Rule 702 of the Federal Rules of
 7   Evidence or Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). To that end,
 8   Ericsson incorporates by reference the facts, pertinent authorities, and argument
 9   contained in the following: (1) Joint Defense Notice of Daubert Motion and Daubert
10   Motion to Exclude the Anticipated Testimony of Plaintiffs’ Expert Charles Ay (Dkt. No.
11   338); (2) Ericsson Inc.’s Supplemental Brief to Joint Defense Motion to Exclude
12   Testimony of Plaintiffs’ Expert Charles Ay (Dkt. No. 342); and (3) Declaration of Ana T.
13   Reeg in Support of Ericsson Inc.’s Supplemental Motion to Exclude Testimony of
14   Plaintiffs’ Expert Charles Ay (Dkt. No. 342-1). Fed. R. Civ. P. 10(c); Macklin v. Butler,
15   553 F.2d at 528.
16          C.     THERE IS NO EVIDENCE TO SUPPORT SPECK’S FRAUD OR PUNITIVE
17                 DAMAGES CLAIM.
18          There is no evidence that Decedent was exposed to an asbestos-containing
19   Anaconda wire starting in 1960 because Anaconda ceased making such asbestos-
20   containing wires in 1946. As discussed above, Speck set forth no specific facts nor
21   significantly probative evidence establishing otherwise. As such, any evidence regarding
22   Anaconda’s alleged failure to warn regarding its asbestos-containing wires prior to 1946 is
23   immaterial. Celotex Corp. v. Catrett, 477 U.S. at 323. So too is Mr. Castleman’s report. Id.
24   Additionally, Speck sets forth no evidence of sufficient caliber or quantity to allow a
25   rational fact finder to find oppression, fraud, or malice by clear and convincing evidence.
26   Anderson v. Liberty Lobby, Inc., 477 U.S. at 254; In re First Alliance Mortg. Co., 471 F.3d 977,
27   998-999 (9th Cir. 2006).
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                                               8
      DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
              OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT (DKT. NO. 346)
                                  CASE NO. 3:20-CV-05845-JD
         Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 13 of 18



 1         D.    ERICSSON’S EVIDENTIARY OBJECTIONS
 2         Ericsson submits the following evidentiary objections to the Declaration of Sarah
 3   N. Bendon (Dkt. No. 358-1) pursuant to Local Rule 7-3(c):
 4   OBJ. MATERIAL OBJECTED                       GROUNDS FOR OBJECTION
 5   N O.             TO:
     1    Paragraph 3, at p. 2:10- Lacks Relevance. FED. R. EVID. 401.
 6        11, in its entirety:     Improper Expert Opinion. FED. R. EVID. 702;
 7                                 Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
          “Attached as Exhibit (1993).
 8        2 to the Index of        Improper Lay Opinion. FED R. EVID. 701.
 9        Exhibits is a true and   Lacks Personal Knowledge. FED. R. EVID. 602;
          correct copy of Barry I. FED. R. CIV. P. 56(c)(4).
10        Castleman, Sc.D.’s       Calls for Speculation. FED. R. EVID. 701.
11        April 9, 2021, Expert
          Report.”                 Castleman’s report discusses the existence and
12                                 availability of articles which discuss the hazards of
13                                 exposure to asbestos dust. The report also purports to
                                   establish that all defendants in asbestos litigation knew
14                                 or should have known of the dangers of asbestos
15
                                   during the period when the articles were disseminated.

16                                   To properly support the conclusions in his report,
17
                                     Castleman would have to offer competent evidence on
                                     at least three issues: (1) the existence of medical articles
18                                   that discuss the relationship between asbestos dust and
                                     mesothelioma, (2) the conclusions reached by the
19
                                     authors of the articles concerning the relationship
20                                   between asbestos dust and mesothelioma, and (3)
                                     whether the sources of these articles were well-known
21
                                     and how they were received by the medical community
22                                   when they were published.
23
                                     Because Castleman has no medical background or
24                                   experience, he cannot:
                                      Judge the correctness of the articles;
25
                                      Evaluate and analyze the articles to identify which
26                                     parts best summarize the authors’ conclusions;
27                                    State whether the sources which published the
                                       articles are well known; or
28
                                              9
     DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
             OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT (DKT. NO. 346)
                                 CASE NO. 3:20-CV-05845-JD
         Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 14 of 18



 1                                     State how the articles were received by members of
 2                                      the medical community when first published. In re
                                        Related Asbestos Cases, 543 F. Supp. 1142, 1149 (N.D.
 3                                      Cal. 1982); Rutkowski v. Occidental Chemical Corp., 1989
 4                                      U.S. Dist. LEXIS 1732, 1989 WL 32030, at *2-4
                                        (N.D. Ill. Feb. 16, 1989).
 5

 6                                    Further, there is nothing in the record suggesting that
                                      Castleman worked for Ericsson or that Castleman has
 7                                    any direct knowledge of Ericsson’s awareness of the
 8                                    risks of asbestos at any given time. As such, Castleman
                                      lacks the foundation to testify about what Ericsson
 9                                    knew at any given time regarding asbestos.
10
                                      Therefore, Castleman is qualified to provide only the
11                                    following, none of which is relevant for purposes of
                                      this Motion:
12
                                       The existence of articles that discuss asbestos and
13                                       mesothelioma.
14                                     His ability to locate such articles.
                                       Recite excerpts from medical articles.
15
                                       Recite excerpts from trade journals and government
16                                       publications.
17
                                       Identify certain companies that were members of
                                         organizations (but cannot testify as to what a
18                                       company knew or should have known as he lacks
                                         foundation).
19

20   2      Paragraph 5, at p. 2:15- Lacks Relevance. FED. R. EVID. 401.
            17, in its entirety:
21
                                     Exhibit 4 does not reference Decedent, Ericsson,
22          “Attached as Exhibit Anaconda, or USS Andrew Jackson (or any other ship or
            4 to the Index of        submarine Decedent allegedly worked on). Speck
23
            Exhibits is a true and   therefore failed to establish the relevance of Exhibit 4
24          correct copy of          as it relates to the issues raised in Ericsson’s Motion –
            relevant portions of     i.e., Decedent’s threshold exposure to a product for
25
            the Environmental        which Ericsson is liable or evidence of oppression,
26          Protection Agency        fraud, or malice on the part of Ericsson.
            (‘E.P.A.’) 315-B 00-
27          001, A Guide for Ship
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     DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
             OR, IN THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT (DKT. NO. 346)
                                 CASE NO. 3:20-CV-05845-JD
         Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 15 of 18



 1          Scrappers, dated
 2          Summer 2000.”

 3   3      Paragraph 6, at p. 2:18- Lacks Relevance. FED. R. EVID. 401.
 4          22, in its entirety:     Incomplete Evidence/Out of Context. FED. R.
                                     EVID. 106.
 5          “Attached as Exhibit
 6
            5 to the Index of        Speck submits Exhibit 5 as evidence supporting
            Exhibits is a true and   Ericsson’s “knowledge of the hazards of its asbestos
 7          correct copy of the of products and its decision to nevertheless not
            Ericsson, Inc.’s         adequately warn for the purpose of disclosing those
 8
            Responses to Plaintiff’s hazards, specifically including the years Mr. Spark [sic]
 9          Interrogatories,         worked with or around its products.” (Opp’n at p.
            William S. McHugh, et 23:16-21.)
10
            al. v. Raybestos
11          Manhattan, Inc. et al., Interrogatory No. 14 asks Ericsson to “[s]tate whether
            San Francisco Superior any asbestos used, processed, mined, manufactured,
12
            Court, Case No. 922-     imported, supplied, distributed, labelled, and/or sold
13          332, dated October 30, by this defendant was purchased from or acquired
            1990, Interrogatory      from the General Service Administration or any branch
14
            No. 14, pp. 19-20.”      or agency of the United States government during the
15                                   period 1930 to 1985.” Exhibit 5 is not relevant for
                                     purposes of this Motion.
16

17                                   To the extent Speck refers to Ericsson’s response to
                                     Interrogatory No. 15, Speck only references a portion
18                                   of that response, making it incomplete and out of
19                                   context. Ericsson’s full response is as follows:
20                                   “Without waiving said objection, Defendant states that
21                                   its predecessors never utilized a warning or caution
                                     label on its wire and cable. It is further this
22                                   Defendant’s best information and belief that no
23                                   warnings were affixed to its predecessors’ products
                                     in that no warning was necessary. Any asbestos
24                                   contained in said products was completely
25                                   saturated or impregnated. Thus, reasonably
                                     foreseeable use of these products was not
26                                   hazardous.” (Emphasis added.)
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     DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
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                                 CASE NO. 3:20-CV-05845-JD
         Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 16 of 18



 1   4      Paragraph 7, at p. 2:23- Lacks Relevance. FED. R. EVID. 401.
 2          24, in its entirety:     Improper Expert Opinion. FED. R. EVID. 702;
                                     Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
 3          “Attached as Exhibit (1993).
 4          6 to the Index of        Improper Lay Opinion. FED R. EVID. 701.
            Exhibits is a true and   Lacks Personal Knowledge. FED. R. EVID. 602;
 5          correct copy of the      FED. R. CIV. P. 56(c)(4).
 6
            Expert Report of         Calls for Speculation. FED. R. EVID. 701.
            Charles Ay, dated April
 7          9, 2021.”                Pursuant to Rule 10(c) of the Federal Rules of Civil
                                     Procedure and Macklin v. Butler, 553 F.2d at 528,
 8
                                     Ericsson incorporates by reference the facts, pertinent
 9                                   authorities, and argument contained in the following:
10
                                      Joint Defense Notice of Daubert Motion and Daubert
                                        Motion to Exclude the Anticipated Testimony of
11                                      Plaintiffs’ Expert Charles Ay (Dkt. No. 338)
12                                    Ericsson Inc.’s Supplemental Brief to Joint Defense
                                        Motion to Exclude Testimony of Plaintiffs’ Expert
13                                      Charles Ay (Dkt. No. 342)
14                                    Declaration of Ana T. Reeg in Support of Ericsson
                                        Inc.’s Supplemental Motion to Exclude Testimony
15                                      of Plaintiffs’ Expert Charles Ay (Dkt. No. 342-1).
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     DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
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                                 CASE NO. 3:20-CV-05845-JD
           Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 17 of 18



 1   IV.     CONCLUSION
 2           Ericsson respectfully requests that this Court grant summary judgment in favor of
 3   Ericsson because Speck failed to come forward with any facts or evidence on the critical
 4   issue of Decedent’s threshold exposure to an asbestos-containing Anaconda product. In
 5   the alternative, partial summary judgment should be granted in favor of Ericsson because
 6   Speck failed to disclose any specific facts or significantly probative evidence supporting
 7   his fraud and punitive damages claim against Ericsson.
 8

 9   Dated: June 24, 2022                           HAWKINS PARNELL & YOUNG LLP
10

11                                            By:     /s/Ana T. Reeg
                                                    Claire C. Weglarz
12
                                                    Ana T. Reeg
13                                                  Attorneys for Defendant,
                                                    ERICSSON INC.
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     DEFENDANT ERICSSON INC.’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
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                                 CASE NO. 3:20-CV-05845-JD
          Case 3:20-cv-05845-JD Document 371 Filed 06/24/22 Page 18 of 18



 1                                     CERTIFICATE OF SERVICE

 2          In accordance with Fed. R. Civ. P. 5 and LR5, on June 24, 2022, the foregoing document was
 3   filed and served by transmitting via the United States District Court’s CM/ECF System to the
 4   individuals on the ECF list.
 5

 6
                                                                 /s/ Ana T. Reeg
 7                                                         ANA T. REEG
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